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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 JOSE MARIA DeCASTRO,
 a/k/a CHILLE DeCASTRO,
 a/k/a DELETE LAWZ,                                         Case No. 1:22-cv-11421-ADB

                Plaintiff and Defendant-in-
                Counterclaim

           v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL and
KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

                Defendants and Plaintiffs-in-
                Counterclaim, and

 GOOGLE LLC,

                Defendant.


       DEFENDANT GOOGLE LLC’S MOTION FOR LEAVE TO FILE A REPLY
            IN SUPPORT OF ITS MOTION TO TRANSFER OR DISMISS

       Defendant Google LLC (“Google”) respectfully moves this Court, pursuant to D. Mass.

Local Rule 7.1(b)(3), for leave to file a reply in further support of its motion to transfer or

dismiss. See Mot. (ECF No. 121). If allowed, the reply would be no more than 5 pages, and

would be submitted on June 13, 2023 or within ten days of the Court’s order, whichever is later.

       Most of the arguments in Plaintiff’s opposition brief require little response, as their

defects are readily apparent. See Opp. (ECF No. 123). But at least two of Plaintiff’s arguments

are worth addressing in a short reply. First, Plaintiff tries to remedy his failure to allege copyright

registration before filing suit as required by 17 U.S.C. § 411(a) by introducing the unpled

allegation that he “registered at least one key video in [his] complaint.” Opp. at 4. If allowed,



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Google will explain on reply that even if Plaintiff could amend his First Amended Complaint

(“FAC”) to allege that one of his hundreds of supposedly infringed works is registered, this could

not satisfy the pre-registration requirement. Google would provide a short declaration to the

effect that Plaintiff is evidently referring to “My Wrongful Arrest” (Reg. No. PA0002398490), a

video registered after Plaintiff brought this action. Belated registration of one work after filing

suit does not satisfy § 411(a). See Cortés-Ramos v. Martin-Morales, No. 16-1223 (DRD), 2020

U.S. Dist. LEXIS 152384, at *9 (D.P.R. Aug. 21, 2020) (collecting cases).

       Second, Plaintiff claims he did not license his videos to YouTube and asserts that “[t]he

key video in this litigation was never published on YouTube.” Opp. at 4. If allowed, Google will

demonstrate on reply that this assertion contradicts Plaintiff’s own allegations. See FAC (ECF

No. 62) ¶¶ 4, 13-19; Supp. Compl. (ECF No. 79) ¶¶ 9-10. Further, Plaintiff trains his argument

on a different license than the one relied upon by Google in its motion. Compare Mot. at 5

(quoting the “License to YouTube” in Ex. A at 8) with Opp. at 4 (quoting the “License to Other

Users” in Ex. A at 9).

       Google therefore requests an opportunity to address Plaintiff’s arguments.

                                                      Respectfully submitted,

                                                      GOOGLE LLC

                                                      By its attorneys,

                                                       /s/ Matthew D. Gorman
Benjamin Margo (pro hac vice)                         Matthew D. Gorman (BBO No. 569406)
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                         LOCAL RULE 7.1(a)(2) CERTIFICATION
       Undersigned counsel certifies that counsel for Defendant Google LLC (“Google”)

conferred with counsel for Defendants Joshua Abrams and Kate Peter via email regarding this

motion on June 1, 2023. Both defendants indicated that they assent to Google filing a reply brief.

Counsel for Google exchanged emails with pro se Plaintiff Jose DeCastro regarding the motion

on June 1 and June 2, 2023. Plaintiff opposes allowing Google to file a reply brief.

Dated: June 2, 2023                              Respectfully submitted,

                                                 /s/ Matthew D. Gorman
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                                 CERTIFICATE OF SERVICE
       Undersigned counsel certifies that this document was filed through the CM/ECF system

and will be served electronically to the registered participants as identified on the Notice of

Electronic Filing through the Court’s transmission facilities.

Dated: June 2, 2023                               Respectfully submitted,

                                                   /s/ Matthew D. Gorman
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